     Case: 1:12-cr-00723 Document #: 546 Filed: 05/14/24 Page 1 of 4 PageID #:5054
MR




                                                                 FIL4E/2D
                                                                        024
                                                                                          E.C
                                                                     5/1
                                                                             . BRUTO    N
                                                                   THOMA.SDG
                                                                           IS T R IC T COURT
                                                                CLERK, U.S
Case: 1:12-cr-00723 Document #: 546 Filed: 05/14/24 Page 2 of 4 PageID #:5055
r-00723 Document #: 546 Filed: 05/14/24 Page 3 of 4 Pa
r-00723 Document #: 546 Filed: 05/14/24 Page 4 of 4 Pa
